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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

FLORIDA RISING TOGETHER, et al.,

      Plaintiffs,

v.                                           Case No. 4:21cv201-MW/MJF

LAUREL M. LEE,
in her official capacity as the
Secretary of State of Florida,
et al.,

     Defendants.
__________________________/

              ORDER GRANTING MOTION TO INTERVENE

      This Court has considered, without hearing, the Republican National

Committee and National Republican Senatorial Committee’s (“Proposed

Intervenors”) Motion to Intervene. ECF No. 26. Plaintiffs oppose the intervention,

incorporating by reference the oppositions to Proposed Intervenors’ motions to

intervene in League of Women Voters of Florida, Inc. v. Lee, No. 4:21cv186-

MW/MAF and Florida State Conference of Branches and Youth Units of the NAACP

v. Lee, No. 4:21cv187-MW/MAF. ECF No. 45 at 2. For the same reasons this Court

granted Proposed Intervenors’ motions in those cases, the motion in this case is
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GRANTED.

   SO ORDERED on July 6, 2021.

                                s/Mark E. Walker
                                Chief United States District Judge




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